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IN TRE SIRCUIT COURT OF ChAY COUNTY
* AT LIBERTY, MISSO JAI
STATE OF MISSCURE,
{Matmff, Olvisiun No. foe ™
vs non Oy (ei BFP E
DERCRN JACKSON
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Appearinte: bend tn thy amount of 2
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Clay County Miuzurl Shetifs Department
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WITNESSES
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3. Ramby

 
 

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